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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

In re:                                                      Chapter 11

SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

      Debtors.                                              (Jointly Administered)
_______________________________/

     DEBTORS SECOND MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY
     RULE 1007(c) GRANTING AN EXTENSION OF TIME TO FILE STATEMENT OF
       FINANCIAL AFFAIRS AND SCHEDULES OF ASSETS AND LIABILITIES

           The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

    by and through their undersigned counsel, hereby move (the “Motion”) this Court for entry of

    an order pursuant to Bankruptcy Rule 1007(c) Granting an Extension of Time to File Statement

    of Financial Affairs and Schedules of Assets and Liabilities. In support of this Motion, the

    Debtors respectfully represent as follows:

                                              BACKGROUND

          1.     On October 28, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

          2.     The Debtors are authorized to continue to operate their businesses and manage their

properties as debtors-in-possession under sections 1107(a) and 1108 of the Bankruptcy Code.

          3.     As of the date of this Application, no trustee, examiner or statutory committee has

been appointed in these Chapter 11 Cases.

          4.     For a detailed description of the Debtors the circumstances leading to the

commencement of these Chapter 11 Cases and information regarding the Debtors’ businesses and

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  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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capital structure, the Debtors respectfully refer the Court and parties-in-interest to the

Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day Pleadings.

[ECF No. 16].

       5.       The Chief Restructuring Officer is working diligently to prepare schedules and

statements. However, the short extension is required to complete the schedules and statements in

a proper and correct manner.

       6.       On November 11, 2024 the Debtors filed the Motion for an Order Pursuant to

Bankruptcy Rule 1007(c) Granting an Extension of Time to File Statement of Financial Affairs

and Schedules of Assets and Liabilities [ECF No. 51].

       7.       On November 14, 2024, the Court entered the Order Granting Debtors’ Motion

for an Order Pursuant to Bankruptcy Rule 1007(c) Granting an Extension of Time to File

Statement of Financial Affairs and Schedules of Assets and Liabilities [ECF No. 52], extending

the deadline to file the Debtors’ schedules and statements to November 19, 2024.

                                    RELIEF REQUESTED

       8.       Under Bankruptcy Rule 1007(c), the Debtors request that the Court extend the

fourteen-day period within which the Debtors must file their Statements of Financial Affairs

(“Statements”) and Schedules of Assets and Liabilities (“Schedules”) for an additional three (3)

days, or until November 22, 2024.

                                      BASIS FOR RELIEF

       9.       Under Bankruptcy Rule 1007(c), the Debtors are required to file their Statements

and Schedules within fourteen days after the Petition Date. To prepare the Statements and

Schedules, the Debtors must gather information from books, records, and documents relating to

thousands of transactions. The collection of the information necessary to complete the



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Statements and Schedules will require an expenditure of substantial time and effort on the part

of the Debtors’ employees.

       10.     In the days and weeks leading up to the filing of these Chapter 11 Cases, the

Debtors’ replaced their management with a Chief Restructuring Officer. Since the filing the

CRO has been entirely occupied in pursuing strategic alternatives, negotiating agreements to

assist in the Debtors’ case and preparing information and documents necessary to prepare the

Debtors’ chapter 11 filings. In the early days of these cases, the CRO and key

management and other employees had many competing demands assisting in efforts to

implement the Debtors’ efforts while also addressing myriad employee, customer, and vendor

issues. Under these circumstances, it is unlikely that the Debtors will be able to complete their

Statements and Schedules properly and accurately by the ordinary fourteen-day deadline. The

relief requested is appropriate under the circumstances. See generally In re ITG Vegas, Inc., No.

06-16350, (ECF No 90) (Bankr. S.D. Fla. Dec. 19, 2006); In re Falcon Air Express, Inc., No.

06- 11877, (ECF No. 30) (Bankr. S.D. Fla. May 11, 2006); In re Mercedes Homes Inc., et al.,

Case Nos. 09-11191 through 09-09-11211 (AJC) (Bankr. S.D. Fla. January 26, 2009) (ECF

No. 7); In re All American Semiconductor, Inc., Case Nos. 07-12965 through 07-13002 (LMI)

(Bankr. S.D. Fla. April 25, 2007) (ECF No. 12).

       11.     Accordingly, the Debtors request that the Court extend the period under

Bankruptcy Rule 1007(c) for an additional three (3) days, thereby setting the deadline to file the

Statement and Schedules to 28 days after the Petition Date, or until November 22, 2024.

        WHEREFORE, the Debtors respectfully request that the Court enter an Order: (a)

 granting the Debtors an additional three (3) days to file the Statement and Schedules to

 November 22, 2024; and (b) granting such further relief as may be just and proper.



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Dated November 19, 2024.            DGIM Law, PLLC
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